             Case 3:21-cv-03013-SI Document 6 Filed 04/29/21 Page 1 of 10




     Rebecca Davis (SBN 271662)
1    rebecca@lozeaudrury.com
     LOZEAU DRURY LLP
2    1939 Harrison St., Suite 150
     Oakland, CA 94612
3    Telephone: (510) 836-4200
     Facsimile: (510) 836-4205
4
     Taylor T. Smith*
5    tsmith@woodrowpeluso.com
     WOODROW & PELUSO, LLC
6    3900 E. Mexico Avenue, Suite 300
     Denver, Colorado 80210
7    Telephone: (720) 216-0675
     Facsimile: (303) 927-0809
8
     *Pro Hac Vice application to be filed
9
     Attorneys for Plaintiffs and the Alleged Class
10

11                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
       A1 ON TRACK SLIDING DOOR REPAIR
13     AND INSTALLATION, INC., SYLVIA                     Case No. 3:21-CV-03013-SK
       SCHICK, and DEBORAH SCHICK,
14     individually and on behalf of all others           FIRST AMENDED CLASS ACTION
       similarly situated,                                COMPLAINT
15
                             Plaintiffs,                  JURY TRIAL DEMANDED
16
       v.
17
       BRANDREP LLC, a Delaware limited
18     liability company,
19                           Defendant.
20

21           1.      Plaintiffs A1 On Track Sliding Door Repair and Installation, Inc., Sylvia Schick,

22   and Deborah Schick (collectively “Plaintiffs”) bring this Class Action Complaint against

23   Defendant BrandRep, LLC (“BrandRep” or “Defendant”) to: (1) stop Defendant’s practice of

24   placing calls using “an artificial or prerecorded voice” to the telephones of consumers nationwide

25   without their prior express consent; and (2) obtain redress for all persons injured by Defendant’s

26   conduct. Plaintiffs also seek an award of statutory damages to the members of the Class, plus

27   court costs and reasonable attorneys’ fees.

28
                                                      1
            Case 3:21-cv-03013-SI Document 6 Filed 04/29/21 Page 2 of 10




1           2.      Plaintiffs, for their complaint, allege as follows upon personal knowledge as to
2    themselves and their own acts and experiences, and, as to all other matters, upon information and
3    belief, including investigation conducted by their attorneys.
4           3.      The Telephone Consumer Protection Act 47 U.S.C. § 227, et seq. (“TCPA” or
5    “Act”) and its implementing regulations, 47 C.F.R. § 64.1200, et seq. prohibit companies, such as
6    Defendant, from placing calls using “an artificial or prerecorded voice” (“prerecorded calls”) to
7    telephones without first obtaining consent. BrandRep has violated, and continues to violate, the
8    TCPA and its regulations by placing prerecorded calls to telephone subscribers who have not
9    expressly consented to receiving such calls.
10          4.      In an effort to obtain leads for its services, BrandRep made (or directed to be made
11   on its behalf) prerecorded calls to the telephones of Plaintiffs and other members of the alleged
12   class without first obtaining express consent to do so—all in violation of the TCPA.
13          5.      The TCPA was enacted to protect consumers from unauthorized calls exactly like
14   those alleged in this Complaint—prerecorded calls placed to cellphone numbers without each
15   consumer’s prior express written consent.
16          6.      By making the telephone calls at issue in this Complaint, Defendant caused
17   Plaintiffs and the members of the Class actual harm and cognizable legal injury. This includes the
18   aggravation and nuisance and invasions of privacy that result from the receipt of such calls, in
19   addition to a loss of value realized for the monies consumers paid to their wireless carriers for the
20   receipt of such calls. Furthermore, the calls interfered with Plaintiffs’ and the other class
21   members’ use and enjoyment of their phones, including the related data, software, and hardware
22   components. Defendant also caused substantial injury to their phones by causing wear and tear on
23   their property, consuming battery life, and appropriating cellular minutes and data.
24                                                  PARTIES
25          7.      Plaintiff A1 On Track Sliding Door Repair and Installation, Inc. (“A1 On Track”)
26   is a corporation, with its principal place of business located at 1600 Dell Ave. Ste S, Campbell
27

28
                                                        2
             Case 3:21-cv-03013-SI Document 6 Filed 04/29/21 Page 3 of 10




1    CA 95008.
2            8.      Plaintiff Sylvia Schick is a natural person over the age of eighteen (18) and a
3    resident of the State of Arizona. At the time she received the prerecorded call at issue, she was a
4    resident of Contra Costa County, California.
5            9.      Plaintiff Deborah Schick is a natural person over the age of eighteen (18) and a
6    resident of the State of Arizona. At the time she received the prerecorded calls at issue, she was a
7    resident of Contra Costa County, California.
8            10.     Defendant BrandRep is a Delaware limited liability company, with its principal
9    place of business located at 16812 Armstrong Avenue, Suite 200, Irvine, CA 92606.
10                                      JURISDICTION & VENUE
11           11.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
12   1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. §227, et seq.,
13   a federal statute.
14           12.     This Court has personal jurisdiction over BrandRep because it solicits significant
15   business in this District, is headquartered in California, and a significant portion of the unlawful
16   conduct alleged in this Complaint occurred in and/or was directed to this District.
17           13.     Venue is proper pursuant to 28 U.S.C. § 1391(b) because Defendant solicits a
18   significant amount of consumer business within this District, some of the Plaintiffs reside in this
19   District, and because a portion of the wrongful conduct giving rise to this case occurred in and/or
20   was directed to this District.
21                                COMMON ALLEGATIONS OF FACT
22           14.     Defendant BrandRep is an internet marketing company headquartered in Irvine,
23   California.
24           15.     Unfortunately for consumers, BrandRep casts its marketing net too wide. That is,
25   in an attempt to promote its business and to generate leads for its marketing services Defendant
26   conducted (and continues to conduct) a wide scale telemarketing campaign that repeatedly makes
27

28
                                                       3
            Case 3:21-cv-03013-SI Document 6 Filed 04/29/21 Page 4 of 10




1    unsolicited prerecorded calls to consumers' telephones including cellular telephones all without
2    any prior express consent to make these calls.
3           16.        At no time did Defendant obtain prior express written consent from the Plaintiffs
4    and the Class to receive prerecorded calls.
5           17.        Defendant knowingly made, and continues to make, telemarketing calls without
6    the prior express consent of the recipients. As such, Defendant not only invaded the personal
7    privacy of Plaintiffs and members of the alleged Class, but also intentionally and repeatedly
8    violated the TCPA.
9                                    FACTS SPECIFIC TO PLAINTIFFS
10          18.        Plaintiff A1 On Track is the customary user of a personal cellular telephone ending
11   in 0267.
12          19.        On February 7, 2020, A1 On Track received a call from BrandRep from the
13   number 708-554-8747. This call featured a prerecorded voice. After following the prompts in an
14   effort to figure out who was calling, A1 On Track was connected to Timothy from BrandRep,
15   who sent a follow-up email from timothy.jacobson@brandrep.com.
16          20.        On February 18, 2020, A1 On Track received another call from BrandRep, this
17   time from 510-462-8225. This call also featured a prerecorded voice.
18          21.        After following the prompts, which requested that it “press 1”, Plaintiff A1 On
19   Track was connected with and received a follow-up email from Alec Silvestri, a BrandRep
20   representative.
21          22.        Plaintiff Sylvia Schick is the customary user of a cellular telephone number ending
22   in 0440.
23          23.        On August 23, 2017, Sylvia Schick received a call on her cellphone from the
24   number 530-317-0911. This call featured a prerecorded voice.
25          24.        Sylvia Schick followed the prompts, which requested that she “press 1”, to
26   discover who was calling her and was connected to a BrandRep representative.
27

28
                                                        4
            Case 3:21-cv-03013-SI Document 6 Filed 04/29/21 Page 5 of 10




1           25.     Plaintiff Deborah Schick is the customary user of a cellular telephone number
2    ending in 5502.
3           26.     On July 27, 2017, Deborah Schick received a call on her cellphone from the
4    number 458-204-0653. This call featured a prerecorded voice.
5           27.     After following the prompts to see who was calling her, Deborah Schick was
6    connected with a BrandRep representative.
7           28.     On August 21, 2017, Deborah Schick received a call on her cellphone from the
8    number 323-831-8377. This call featured a prerecorded voice.
9           29.     After following the prompts and pressing 1, Plaintiff Deborah Schick was
10   connected to a BrandRep representative.
11          30.     Plaintiffs do not have a relationship with Defendant, have never provided their
12   telephone number directly to Defendant, and has never requested that Defendant place
13   prerecorded calls to them or offer them its services. Simply put, Plaintiffs have never provided
14   any form of prior express consent to Defendant to place prerecorded calls to them and have no
15   business relationship with Defendant.
16          31.     Defendant was, and is, aware that the above-described prerecorded calls were
17   made to consumers like Plaintiffs who have not consented to receive them.
18          32.     By making unauthorized prerecorded calls as alleged herein, BrandRep has caused
19   consumers actual harm. This includes the aggravation, nuisance and invasions of privacy that
20   result from the receipt of such calls, in addition to the wear and tear on their telephones,
21   consumption of battery life, lost cellular minutes, loss of value realized for the monies consumers
22   paid to their wireless carriers for the receipt of such calls, in the form of the diminished use,
23   enjoyment, value, and utility of their telephone plans. Furthermore, Defendant made the calls
24   knowing that they interfered with Plaintiffs and the other class members’ use and enjoyment of,
25   and the ability to access, their cellphones, including all related data, software, and hardware
26   components.
27

28
                                                        5
            Case 3:21-cv-03013-SI Document 6 Filed 04/29/21 Page 6 of 10




1            33.     To redress these injuries, Plaintiffs, on behalf of themselves and Class of similarly
2    situated individuals, bring this suit under the TCPA, which prohibits unsolicited prerecorded calls
3    to telephones. On behalf of the Class, Plaintiffs seek an injunction requiring Defendant to cease
4    all unauthorized prerecorded calling activities and an award of statutory damages to the class
5    members, together with costs and reasonable attorneys’ fees.
6                                    CLASS ACTION ALLEGATIONS
7            34.     Plaintiffs bring this action pursuant to Federal Rule of Civil Procedure 23(b)(2)
8    and Rule 23(b)(3) on behalf of themselves and the Class defined as follows:
9            No Consent Class: All persons in the United States who from four years prior to the
             filing of the initial complaint in this action to the date notice is sent to the Class (1)
10           Defendant, or a third person acting on behalf of Defendant, called; (2) on the
             person’s cellular telephone; (3) for the purpose of selling Defendant’s products and
11
             services; (4) using an artificial or prerecorded voice; and (5) for whom Defendant
12           claims it obtained prior express consent in the same manner as Defendant claims it
             obtained prior express consent to call the Plaintiffs.
13
             35.     The following people are excluded from the Class: (1) any Judge or Magistrate
14
     presiding over this action and members of their families; (2) Defendant, Defendant’s subsidiaries,
15
     parents, successors, predecessors, and any entity in which the Defendant or its parents have a
16
     controlling interest and its current or former employees, officers and directors; (3) persons who
17
     properly execute and file a timely request for exclusion from the Class; (4) persons whose claims
18
     in this matter have been finally adjudicated on the merits or otherwise released; (5) Plaintiffs’
19
     counsel and Defendant’s counsel; and (6) the legal representatives, successors, and assignees of
20
     any such excluded persons.
21
             36.     Numerosity: The exact number of members within the Class is unknown and not
22
     available to Plaintiffs at this time, but it is clear that individual joinder is impracticable. On
23
     information and belief, Defendant (or its agents) has placed prerecorded calls to hundreds or
24
     thousands of consumers who fall into the defined Class. However, the exact number of members
25
     of the Class can be identified through reference to objective criteria, including Defendant’s
26
     records.
27

28
                                                         6
            Case 3:21-cv-03013-SI Document 6 Filed 04/29/21 Page 7 of 10




1           37.     Typicality: Plaintiffs’ claims are typical of the claims of other members of the
2    Class, in that Plaintiffs and the members of the Class sustained damages arising out of
3    Defendant’s uniform wrongful conduct.
4           38.     Adequate Representation: Plaintiffs will fairly and adequately represent and
5    protect the interests of the Class, and have retained counsel competent and experienced in
6    complex class actions. Plaintiffs have no interests antagonistic to those of the Class, and
7    Defendant has no defenses unique to Plaintiffs.
8           39.     Commonality and Predominance: There are many questions of law and fact
9    common to the claims of Plaintiffs and the Class, and those questions predominate over any
10   questions that may affect individual members of the Class. Common questions for the Class
11   include, but are not necessarily limited to the following:
12                  (a)     Whether Defendant’s conduct violated the TCPA;
13                  (b)     Whether Defendant systematically made telephone calls to individuals who
14                  did not previously provide Defendant and/or its agents with their prior express
15                  written consent to receive such phone calls;
16                  (c)     Whether Defendant made the calls with the use of prerecorded voice
17                  message; and
18                  (d)     Whether members of the Class are entitled to treble damages based on the
19                  willfulness of Defendant’s conduct.
20          40.     Superiority: This case is also appropriate for class certification because class
21   proceedings are superior to all other available methods for the fair and efficient adjudication of
22   this controversy. Joinder of all parties is impracticable, and the damages suffered by the
23   individual members of the Class will likely be relatively small, especially given the burden and
24   expense of individual prosecution of the complex litigation necessitated by Defendant’s actions.
25   Thus, it would be virtually impossible for the individual members of the Class to obtain effective
26   relief from Defendant’s misconduct. Even if members of the Class could sustain such individual
27

28
                                                       7
               Case 3:21-cv-03013-SI Document 6 Filed 04/29/21 Page 8 of 10




1    litigation, it would still not be preferable to a class action, because individual litigation would
2    increase the delay and expense to all parties due to the complex legal and factual controversies
3    presented in this Complaint. By contrast, a class action presents far fewer management difficulties
4    and provides the benefits of single adjudication, economy of scale, and comprehensive
5    supervision by a single Court. Economies of time, effort and expense will be fostered, and
6    uniformity of decisions ensured.
7                                           CAUSE OF ACTION
                Violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.
8                             (On behalf of Plaintiffs and the No Consent Class)
9              41.    Plaintiffs incorporate by reference the foregoing allegations as if fully set forth
10   herein.
11             42.    Defendant made unsolicited and unwanted prerecorded telemarketing calls to
12   cellular telephone numbers belonging to Plaintiffs and the other members of the Class—without
13   their prior express written consent—in an effort to generate leads for BrandRep’s products and
14   services.
15             43.    Defendant failed to obtain any prior express consent that included, as required by
16   47 C.F.R. § 64.1200(f)(8)(i), a “clear and conspicuous” disclosure informing the person signing
17   that:
18             (A) By executing the agreement, such person authorizes the seller to deliver or cause
               to be delivered to the signatory telemarketing calls using an automatic telephone
19             dialing system or an artificial or prerecorded voice; and
20
               (B) The person is not required to sign the agreement (directly or indirectly), or agree
21             to enter into such an agreement as a condition of purchasing any property, goods, or
               services.
22
               44.    Defendant made the calls using a prerecorded voice or similar technology.
23
               45.    By making prerecorded unsolicited telephone calls to Plaintiffs and members of
24
     the Class’s cellular telephones without prior express consent, Defendant violated 47 U.S.C. §
25
     227(b)(1)(A)(iii).
26
               46.    As a result of Defendant’s unlawful conduct, Plaintiffs and the members of the
27

28
                                                         8
               Case 3:21-cv-03013-SI Document 6 Filed 04/29/21 Page 9 of 10




1    Class suffered actual damages in the form of monies paid to receive the unsolicited prerecorded
2    telephone calls on their cellular telephones and, under Section 227(b)(3)(B), are each entitled to,
3    inter alia, a minimum of $500 in damages for each such violation of the TCPA.
4              47.     Should the Court determine that Defendant’s conduct was willful and knowing, the
5    Court may, pursuant to Section 227(b)(3), treble the amount of statutory damages recoverable by
6    Plaintiffs and the other members of the Class.
7                                             PRAYER FOR RELIEF
8              WHEREFORE, Plaintiffs, on behalf of themselves and the Class, prays for the following
9    relief:
10                     A.      An order certifying the Class as defined above, appointing Plaintiffs as the
11             representatives of the Class and appointing their counsel as Class Counsel;
12                     B.      An award of statutory damages in the amount of five hundred dollars
13             ($500.00) for each violation, whichever is greater all to be paid into a common fund for
14             the benefit of the Plaintiffs and the class members;
15                     C.      An order declaring that Defendant’s actions, as set out above, violate the
16             TCPA and appropriate injunctive relief;
17                     D.      An award of pre- and post-judgment interest;
18                     E.      An award of reasonable attorneys’ fees and costs to be paid out of the
19             common fund prayed for above; and
20                     F.      Such other and further relief that the Court deems reasonable and just.
21                                                JURY DEMAND
22             Plaintiffs request a trial by jury of all claims that can be so tried.
23
                                                       Respectfully submitted,
24
     Dated: April 29, 2021                             A1 ON TRACK SLIDING DOOR REPAIR AND
25                                                     INSTALLATION, INC., SYLVIA SCHICK, and
                                                       DEBORAH SCHICK, individually and on behalf of
26                                                     all others similarly situated,
27

28
                                                           9
     Case 3:21-cv-03013-SI Document 6 Filed 04/29/21 Page 10 of 10




1
                                   By: /s/ Rebecca Davis
2                                          One of Plaintiffs’ Attorneys

3                                  Rebecca Davis (SBN 271662)
                                   rebecca@lozeaudrury.com
4                                  LOZEAU DRURY LLP
                                   1939 Harrison St., Suite 150
5                                  Oakland, CA 94612
                                   Telephone: (510) 836-4200
6                                  Facsimile: (510) 836-4205

7                                  Taylor T. Smith*
                                   tsmith@woodrowpeluso.com
8
                                   WOODROW & PELUSO, LLC
9                                  3900 E. Mexico Avenue, Suite 300
                                   Denver, Colorado 80210
10                                 Telephone: (720) 216-0675
                                   Facsimile: (303) 927-0809
11
                                   *Pro Hac Vice application to be filed
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                      10
